In re:

 

ROBERT S. BROWER, SR.

Case No.

CHAPTER 11

 

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

MONTHLY OPERAT]NG REPORT

 

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MONTH ENDED:

11/06/17

PETITION DATE:

SUMMARY OF FINANCIAL STATUS

03/11/15

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(SMALL REAL EsTATE/lNDIvn)UAL CASE) , w \Kj \ \

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Debtor in possession (or trustee) hereby submits this Monthly Operating Report on the Accrual Basis of accounting (or if checked here
the Oft`lce of the U.S. Trustee or the Court has approved the Cash Basis of Accounting for the Debtor).

Dollars reported in $;l

End of Current

End of Prior

 

 

 

As of Petition

 

 

 

 

 

 

 

 

 

 

 

 

Asset and Liability Structure Month Month Filing
a. Current Assets $2,898 $2,581
b. Total Assets $438,297 $437,980 $1,200,788
c. Current Liabilities $0 $0
d. Total Liabilities $5,409,852 $5,409,852 $11,165,574
Cumulative
Statement of Cash Receipts & Disbursements for Month Current Month Prior Month §Case to Date[
a. Total Receipts $317 $2,891 $162,457
b. Total Disbursements $0 $1,952 $163,233
c. Excess (Deticiency) of Receipts Over Disbursements (a - b) $317 $939 t$775)
d. Cash Balance Beginning of Month $2,581 $1,642 $2,256
e. Cash Balance End of Month (c + d) $2,898 $2,581 $1,481
Cumulative
Current Month Prior Month §Case to‘ Date[
Profit/(Loss) from the Statement of Operations N/A N/A N/A
Account Receivables (Pre and Post Petition) $0 $0
Post-Petition Liabilities $O ($5,970,000)
Past Due Post-Petition Account Payables (0ver 30 days) $0 $0
At the end of this reporting month: w §
Have any payments been made on pre-petition debt, other than payments in the normal X
course to secured creditors or lessors? (it` yes, attach listing including date of
payment, amount of payment and name of payee)
Have any payments been made to professionals? (if yes, attach listing including date of X
payment, amount of payment and name of payee)
If the answer is yes to 8 or 9, were all such payments approved by the court? N/A
Have any payments been made to ofticers, insiders, shareholders, relatives? (if yes, X
attach listing including`date of payment, amount and reason for payment, and name of payee)
Is the estate insured for replacement cost of assets and for general liability? X
Are a plan and disclosure statement on tile? X
Was there any post-petition borrowing during this reporting period? X

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15.

Check if paid: Post-petition taxes
tax reporting and tax returns:

s

U.S. Trustee Quarterly Fees _X__

; Check if filing is current fort Post-petition

(Attach explanation if post-petition t_axes or U. S. Trustee Quarterly Fees are not paid current or if post-petition tax reporting and tax return

filings are not current )

l declare under penalty of perjury I have reviewed the above summary and attached financial statements, and after making reasonable inquiry
believe these documents are correct.

Date:

12/1/2017 0:00

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Responsible Individual '

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BALANCE SHEET
(Small Real Estate/Individual Case)

For the Month Ended

Assets

Current Assets
Cash and cash equivalents (including bank accts., CDs, ets.)
Accounts receivable (net)
Retajner(s) paid to professionals
Other;
Notes Due - less uncollectable note

 

 

Total Current Assets

Long Term Assets (Market Value)
Real Property (residential)
Real property (rental or commercial)
Furniture, Fixtures, and Equipment
Vehicles
Partnership interests
Interest in corportations
Stocks and bonds
Interests in IRA, Keogh, other retirement plans
Other:

 

 

Total Long Term Assets
Total Assets
Liabilities
Post-Petition Liabi]ities

Current Liabilities
Post-petition not delinquent (under 30 days)

Post-petition delinquent other than taxes (over 30 days)

Post-petition delinquent taxes
Accrued professional fees
Other:

 

 

Total Current Liabilities
Long-'I`erm Post Petition Debt
Total Post-Petition Liabilities
Pre-Petition Liabilities (allowed amount)
Secured claims (residence)
Secured claims (other)

Priority unsecured claims
General unsecured claims REVISED

Total Pre-Petition Liahilities
Total Liabilities

Equity (Deficit)
Total Equity (Deficit)

Total Liabilities and Equity (Defrcit)
NO”[E:

11/06/17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check if
Exemption
Claimed on
Schedule C Market Value
X $2,898
X $0
$2,898
X $15,715
X $259,900
X $159,7 84
$435,399
$438,297
$0
$0
$O
$5,409,852
$5,409,852
$5,409,852
§$4,971,555)
$43 8,297

Indicate the method used to estimate the market value of assets (e.g., appraisals; familiarity with comparable market prices, etc.) and the date the value

Was determined

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SCHEDULES TO THE BALANCE SHEET

Schedule A
Rental Income Information

List the Rental Information Req uested Below Bv Properties (For Rental Properties Onlv)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Propem l Property 2 Properg 3
Description of Property
Scheduled Gross Rents $0 $0 $0
Less:
Vacancy Factor
Free Rent Incentives
Other Adj ustments
Total Deductions $0 $O $0
Scheduled Net Rents $0 $O $0
Less: Rents Receivable (2)
Scheduled Net Rents Collected (2) SO $0 $0
(2) To be completed by cash basis reporters only.
Schedule B
Recapitulation of Funds Held at End of Month
Account 1 Account 2 Account 3
Petty Cash $0
Uncashed check to US Trustee $0.00 $0.00
Account N0.2180013450 $2,818.05
Account Purpose - Exempt Account $80.28
Balance, End of Month $2,898 $0.00
Total Funds on Hand for all Accounts $2,898

Attach copies of the month end bank statement(s), reconciliation(s), and the check register(s) to the Monthly Operating Report.

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STATEl\/[ENT OF CASH RECEIPTS AND DISBURSEl\/IENTS

Increase/(Decrease) in Cash and Cash Equivalents
For the Month Ended 11/06/ 17

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Actual Cumulative
Current Month §Case to Date[
Cash Receipts
1 Rent/Leases Collected
2 Cash Received from Sales
3 Interest Received
4 Misc.
5 Funds from Shareholders, Partners, or Other Insiders $317
6 Capital Contributions
7 Meeting Fees received $0 $12,015
8 FUNDS FRECEIVED FROM NOTE PRINCIPAL PYMT $0 $83,358
9 SOCIAL SECURITY RECEIPT $0 $66,801
10 INCOME TAX REFUND $0 $252
1 1 REFUND $0 $32
12 Total Cash Receipts $317 $162,457
Cash Disbursements
13 Selling
14 Adrninistrative
15 Banking Fees $0 $197
16 Principal Payments on Debt
17 Interest Paid
Rent/Lease:
1 8 Personal Property
19 Real Property $0 $77,658
Amount Paid to Owner(s)/Oflicer(s)
20 Salaries
21 Draws
22 Commissions/Royalties
23 Expense Reimbursements
24 Other
25 Auto Related $0 $8,042
26 lnsurance $0 $8,674
27 FOOD AND GAS - CASH $0 $20,586
28 MISCELLANOUS $0 $637
29 POSTAGE $0 $49
30 HEALTHCARE ITEMS $0 $2,884
31 Other Cash Outflows:
32 Utilities AND TELEPHONE $0 $29,972
33 Food and Gas - PAYMENTS $0 $2,205
34 HEALTHCARE lNSURANCE PYMTS $O $5,101
35 US TRUSTEE __$L ___§M
36 CLOTHING ______+$O __M
37 Total Cash Disbursements: $0 $163,233
38 Net Increase (Decrease) in Cash $317 ($775!
39 Cash Balance, Beginning of Period $2,581 $2,256

40 Cash Balance, End of Period

$2,898 $1:481

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Debtor in Possession-3450

Available Balance

$2,31§-,9.5;,_

 

 

 

 

 

Amount Range

` $ 'Minimum

 

 

 

 

Keywords Date Range
Search Transactions |Nov 01, 2017 - Nov 06, 2017 ` to
$ : I\/laximum
_§ Tax Deductib|e §M'__ Deposits Category Check Number Range
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Hide Advanced Search

v Starting #

Showing 0 of 0 Resu|ts (not including Pending Transactions) for all categories

Posted Transactions

 

Date

 

Transaction

Category

 

 

Amount

 

Running Ba|ance

 

 

No records found

 

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Debtor in Posession 2-0668

Available Balance

$80.23

interest Paid Last Year'. $1.39

 

 

 

 

 

 

 

Amount Range

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Keywords Date Range $ o v _ u ,'

Search Transactions ` :Nov 01, 2017 - Nov 06, 2017 to
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'§ Tax Deductible 1.:; Deposits Category Check Number Range
Reimbursable ;_'1 Withdrawals All Categories » Starting # 10 Ending #
Hide Advanced Search

Showing 0 of 0 Results (not including Pending Transactions) for all categories

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Running Balance

 

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